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                           UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                BEAUMONT DIVISION


 UNITED STATES OF AMERICA                        §
                                                 §
 V.                                              §        CASE NO. 1:13-CR-55-8
                                                 §
 YERED MORALES                                   §



         ORDER ADOPTING FINDINGS OF FACT AND RECOMMENDATION
                     ON DEFENDANT’S GUILTY PLEA

        After conducting a proceeding in the form and manner prescribed by Fed. R. Crim. P. 11,

 the Honorable Zack Hawthorn, United States Magistrate Judge, made and filed Findings of Fact and

 Recommendations regarding the Defendant’s plea of guilty to Counts One and Two of the Second

 Superseding Indictment in the above-numbered case.          The Magistrate Judge accepted the

 Defendant’s guilty plea, recommends that the Defendant be adjudged guilty of the offenses to which

 he pleaded guilty, and recommends that the court defer acceptance of the plea agreement until after

 the court has had an opportunity to review the presentence report.

        The parties have not objected to the magistrate judge’s findings. The court ORDERS that

 the Findings of Fact and Recommendation on Guilty Plea of the United States Magistrate Judge are

 ADOPTED. The court accepts the Defendant’s plea, but defers acceptance of the plea agreement

 until the court has reviewed the presentence report.

        It if further ORDERED that, in accordance with the Defendant’s guilty plea and the




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 magistrate judge’s findings and recommendation, the Defendant is adjudged GUILTY of the

 offenses alleged in Counts One and Two of the Second Superseding Indictment.

       SIGNED this the 6 day of November, 2014.




                                   ____________________________
                                   Thad Heartfield
                                   United States District Judge




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